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                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SOUTHWEST KEY PROGRAMS, INC.             §
                                         §
        Plaintiff,                       §
                                         §
v.                                       §         Civil Action No. 4:18-cv-3289
                                         §
CITY OF HOUSTON                          §
                                         §
        Defendant.                       §

        PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON ITS
     DECLARATORY ACTION AND REQUEST FOR SPEEDY HEARING PURSUANT
                                TO FRCP 57


        Plaintiff Southwest Key Programs, Inc. (“Southwest Key”) asks the Court to

grant partial summary judgment pursuant to FRCP 56 on its claims against the City

of Houston for declaratory relief. Southwest Key also requests a speedy hearing

pursuant to FRCP 57.


                                 I.   INTRODUCTION
        1.      Southwest Key seeks to open and operate a shelter for unaccompanied

immigrant children in the City of Houston. Under the City’s Building Code, this

occupancy use is properly categorized as a “Residential Group R” use. The City,

after fully licensing the shelter under that use category, has told the State of Texas

that the occupancy license issued by the City is invalid and that the shelter should

be categorized as an “Institutional Group I” use. As a result, the State has not issued

licenses necessary for Southwest Key to open the Shelter.


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      2.       There are no disputed issues of material fact. Southwest Key asks the

Court to declare that, as a matter of law, the shelter is properly categorized and

licensed for “Residential Group R” occupancy use.


                         II. SUMMARY JUDGMENT EVIDENCE
      3.       In support of this motion, Southwest Key includes the following

evidence:

            Exhibit A:      Declaration of Marisela Saldana;
            Exhibit B:      Application for Occupancy, Compliance Inspection, May
              20, 2018;
            Exhibit C:     Screenshots from the City of Houston website detailing
              inspection and certification activity at 419 Emancipation Avenue;
            Exhibit D:      Operational Permits for 419 Emancipation Avenue;
            Exhibit E:  Article: Immigrant Children’s Shelter Considered for
              Downtown Houston, June 18, 2018;
            Exhibit F:   Article: Separated at the Border from their Parents: In Six
              Weeks, 1,995 Children, June 15, 2018;
            Exhibit G:   Article: “I can’t support it”: Mayor Turner Rejects Idea of
              Child Immigration Detention Center in Houston, June 16, 2018;
            Exhibit H:  Email from M. McLeod RE 419 Emancipation Ave_
              ILMS documents, June 19, 2018;
            Exhibit I: Article: Mayor’s Office Press Release: During Uncertainty
              About Treatment of Migrant Infants and Children, Mayor Calls for
              Abandonment of Plan to House Them in Houston, June 21, 2018;
            Exhibit J:            D. Montez Letter to M. Saldana of June 26, 2018;
            Exhibit K:      Child-Care Inspection Form, August 2, 2018;
            Exhibit L:      S. Peña Letter to A. Krause of August 16, 2018;
            Exhibit M:      Declaration of J. Hal Caton;



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            Exhibit N:   Controlling          Person        Form,   Child   Care   Licensing,
              September 5, 2018;
            Exhibit O:       Child-Care Inspection Form, October 10, 2018;
            Exhibit P:       S. Turner Tweets;
            Exhibit Q:     Email of A. Bernstein of June 17, 2018 RE Q&A memo
              on Southwest Key’s new lease in Houston and the new federal border
              policy, and attachment;
            Exhibit R:       Photographs of the exits at Casa Sunzal;
            Exhibit S:  Excerpts from the 2012 International Building Code
              Commentary; and
            Exhibit T:       Flores Settlement.


                            III. FACTUAL BACKGROUND
       4.      The Department of Health and Human Services’ Office of Refugee

Resettlement (“ORR”) is charged with the care of unaccompanied children arriving

into the United States. 1

       5.      Unaccompanied children in ORR’s custody are cared for through a

network of state-licensed ORR-funded care providers, which are residential care

providers that provide temporary housing and other services “in the least restrictive

setting that is in the best interest of the child.” 2

       6.      Southwest Key is a Texas non-profit corporation which operates ORR-

funded facilities which provide such housing for unaccompanied minors arriving

into the United States. 3 Southwest Key provides this housing pursuant to contracts


1
  6 U.S.C. §279(a).
2
  8 U.S.C. § 1232 (c)(2)(A).
3
  Declaration of Marisela Saldana, attached as Exhibit A.
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with ORR. 4 Southwest Key operates facilities in Texas, Arizona, and California, and

currently has three operating shelters in Houston.5

       7.      Southwest Key seeks to open a fourth shelter in Houston to meet an

increased need for immigrant youth housing. 6

       8.      A search of available properties identified a suitable site located at 419

Emancipation Avenue, Houston, TX 77003 (the “Casa Sunzal Shelter”). 7 That site

has a long history of use as a shelter facility which makes it uniquely suitable for

Southwest Key’s and the government’s purposes. From approximately 1997 to 2016,

the Star of Hope operated a homeless shelter at that site which counted children

among its residents.8 In 2017 and 2018, the City operated a shelter there for families

(including children) displaced by Hurricane Harvey. 9

       9.      Southwest Key executed a ten-year lease for the Casa Sunzal Shelter in

May 2018 and applied for necessary permits from the City and the State of Texas so

that it could house minors at the facility. 10 Southwest Key seeks to house 16 and 17-

year old children at the facility. 11




4
   Id.
5
   Id.
6
   Id.
7
   Id.
8
   See City of Houston’s Original Answer, filed on October 9, 2018 [Dkt. 8] (“Answer”), at ¶ 15.
9
  Id.
10
    Exhibit A; See Answer at ¶ 16.
11
    Exhibit A.
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A. Permitting and Licensing Requirements
                                     City of Houston
         10.    In order for a building or structure to operate in the City, it must be

  granted various permits by the City. These include a Certificate of Occupancy issued

  by the City Permitting Center.12

         11.    A Certificate of Occupancy, when granted, identifies the “occupancy

  use” and “group” of the structure pursuant to the 2012 International Building Code,

  adopted, as amended, by the City (the “Building Code”).13

         12.    As discussed in more detail below, the Building Code distinguishes

  “Institutional Group I” buildings and structures from “Residential Group R”

  buildings and structures.14 These classifications are then further broken down into

  sub-categories, depending on the exact nature of the use of the facility. 15

         13.    The use classification given to a facility is of significant import, as the

  structural and other regulations with which the facility must comply vary depending

  on the use classification of the building.16

                                      State of Texas
         14.    In addition to a City Certificate of Occupancy, a youth shelter facility

  must receive an operational license from the State of Texas.17 Facilities such as the


  12
     Answer at ¶ 30.
  13
     Answer at ¶ 31.
  14
     See Building Code Sections 308, 310.
  15
     Answer at ¶ 32.
  16
     Answer at ¶ 34.
  17
     Exhibit A.
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Casa Sunzal Shelter require a General Residential Operation (“GRO”) license to

operate as a shelter for children.18 The GRO license is issued under the direction of

Texas Health and Human Services (“THHS”)/Texas Department of Family and

Protective Services (“DFPS”). 19 As part of the GRO licensing process, THHS/DFPS

requires license applicants to be in compliance with required city permitting.20


     B. Southwest Key Receives All Required City Licenses and Permits
       15.    On May 29, 2018, Southwest Key submitted an Application for

Occupancy for 419 Emancipation Avenue, the location of the Casa Sunzal Shelter.21

       16.    That facility had been previously used as a shelter for women and

children by Star of Hope. 22 The City itself also used that facility to house displaced

families with children after Hurricane Harvey. 23 This prior use, including housing

children, was permitted by the City via a Certificate of Occupancy under a

“Residential” use classification pursuant to Section 310.1 of the Building Code.24

       17.    Since Southwest Key intended to use 419 Emancipation for the same

purpose as Star of Hope and the City itself had done—namely, as a

Shelter/Dormitory—Southwest Key went through a duplicate certificate of



18
   Exhibit A.
19
   Exhibit A.
20
   Exhibit A.
21
   Application for Occupancy, Compliance Inspection, attached as Exhibit B.
22
   Answer at ¶ 49.
23
   Id.
24
   Id.
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occupancy process, rather than having to go through the permit process for a chance

of use.

       18.     While a full inspection is not usually required when a duplicate

application is filed, the City requested—and performed—a full inspection of Casa

Sunzal on April 24, 2018.25

       19.     From looking at the layout of the facility, the inspectors could clearly

see that children would be housed there. 26

       20.     The City requested that Southwest Key make some minor

modifications to Casa Sunzal.27 Between April 24th and June 7th, the City performed

inspections to confirm these modifications were made. 28 Again, the layout and décor

of the facility made it apparent to the City inspectors that children would be housed

there. 29

       21.     On June 8, 2018, the City issued a Certificate of Occupancy for the

Casa Sunzal Shelter authorizing its use as a “SHELTER/DORMITORY” with a

Residential use classification per the Building Code.30


25
   Exhibit A.
26
   Exhibit A.
27
   Exhibit A.
28
   Exhibit A; Screenshots from the City of Houston website detailing inspection and certification
activity at 419 Emancipation Avenue, available at
https://www.pdinet.pd.houstontx.gov/cohilms/webs/Inspn_Status.asp (last visited on
November 8, 2018, login required), attached as Exhibit C.
29
   Exhibit A.
30
   Exhibit A; Operational Permits for 419 Emancipation Avenue, attached as Exhibit D, at 1; See
Answer at ¶ 17.
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       22.     On June 14, 2018, the Casa Sunzal Shelter underwent a fire safety

inspection by the City’s Fire Marshal’s Office and received a “Safety Survey

Approval” and fire permits.31

       23.     Shortly thereafter, the City reported to the press, through its

spokespeople, that Southwest Key had everything it needed to operate, had

undergone a full inspection and a change-of-ownership inspection, and it was up to

date on its permits.32


     C. The Mayor Begins his Political Attacks and the City Changes Course
       24.     In mid-June, the national news became focused on the Trump

Administration’s policy of separating immigrant children from their parents at the

border.33

       25.     Mayor Sylvester Turner made clear that he “can’t support” “separating

children from their parents,” and called the policy “morally bankrupt.”34




31
   Exhibit A; Exhibit D; See Answer at ¶ 18.
32
   Answer at ¶ 18; Lomi Kriel, Immigrant children’s shelter considered for downtown Houston,
Houston Chronicle (June 18, 2018, 5:59 PM), available at:
https://www.houstonchronicle.com/news/houston-texas/houston/article/Immigrant-children-s-
shelter-considered-for-12999084.php?cmpid=gsa-chron-result (last visited November 8, 2018)
attached as Exhibit E
33
   See e.g. Separated at the Border From Their Parents: In Six Weeks, 1,995 Children, June 15,
2018, available at: https://www.nytimes.com/2018/06/15/us/politics/trump-immigration-
separation-border.html?module=inline (last visited November 8, 2018), attached as Exhibit F.
34
   “I can’t support it”: Mayor Turner Rejects Idea of Child Immigration Detention Center in
Houston, June 16, 2018, available at: https://abc13.com/politics/i-cant-support-it-turner-rejects-
child-immigration-detention-center/3610952/ (last visited November 8, 2018), attached as
Exhibit G.
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       26.     Southwest Key plays no role in arresting or detaining immigrants.35 It

does not separate children from their parents, nor does it make or seek to influence

any decision about the immigration status of any individual. 36

       27.     Nevertheless, Mayor Turner apparently decided that the mere fact that

some children separated from their parents at the border might be staying Casa

Sunzal was grounds to intervene and attempt to prevent the shelter from opening.37

       28.     Turner—who, as Mayor is not typically involved in building code

related-matters—made clear that his involvement in the process was triggered by

political concerns over federal government policies. He stated:

        I do not question [Southwest Key’s] intent. I don’t question that…[B]ut I also
       made it clear to Southwest Key that I do not support this facility being used
       for … this purpose …
       ….
       I do not want the City to be an enabler in this process … I do not want the
       City to participate in this process. I do not want our facilities and property
       owners to participate in this process … We draw the line. Lastly … the fire
       department is yet to inspect this facility, the health department has yet to
       provide a food permit or shelter permit to this facility. 38

       29.     Turner’s statements regarding the fire department permit and inspection

were both wrong and contrary to the City’s own prior media statements. Turner then




35
   Exhibit A.
36
   Id.
37
   See Exhibit G (“[n]o one ever said [the Casa Sunzal Shelter] was being leased to a tenant that
was going to house children that were separated from their parents…[w]hen it comes to
separating children from their families, I can’t support it.”).
38
   Id.
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went on to say, “As far as I know, the State has yet to license this facility. I would

ask the State not to move forward.”39

      30.    Mayor Turner’s news conference marked the beginning of the City’s

deliberate efforts to prevent Southwest Key from opening the Casa Sunzal Shelter

to house foreign national children.

      31.    The same day, internal City correspondence shows that a “hard hold”

was placed on all permitting in connection with the Shelter.40

      32.    A few days later, Mayor Turner again made clear that he was tying the

Shelter to Trump’s separation policy, and was objecting to it on that basis:

         “It’s hard for the City to grant approval when we don’t know
         who’s going to be there,” the Mayor said of the [Casa Sunzal
         Shelter]. “The plan to proceed in housing children under this
         policy that was screwed up from the beginning is not going to go
         down well. You are not going to remove the stain.”
         …
         “So when you start wrong, it’s very difficult to get it right,” Mayor
         Turner said of [Southwest Key’s] approach.
         “The [ORR] gives the same classification of “unaccompanied
         minors” to children separated from their families and children who
         cross the border without adults, ORR officials said at the Tuesday
         meeting. Turner said that means there could be no way for
         Southwest Key to prevent itself from housing children seized from
         adult relatives by federal agents.”
         …



39
   Id.
40
   Email from M. McLeod RE 419 Emancipation Ave_ ILMS documents, June 19, 2018,
attached as Exhibit H.
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          “To say that others are doing it and therefore this should be okay
          doesn’t satisfy me”, the Mayor responded.
          “If Southwest Key and property owner, David Denenburg,
          proceed with their plans, City departments will conduct
          meticulous permitting inspections of the unused building
          “once we known who is going to be there” to see if the
          building can be used to house children, the Mayor
          explained.” 41
       33.     Despite the Mayor’s clear intent to prohibit Casa Sunzal from opening

to house immigrant children, the City had already issued a certificate of occupancy

and all other necessary licenses and certificates for Casa Sunzal to open. 42


     D. Southwest Key Seeks a State Permit, which is Not Issued Due to a
       Misleading Letter from the City
       34.     With its certificate of occupancy in hand, Southwest Key submitted an

application to the State of Texas for a GRO license to operate the Casa Sunzal

Shelter. 43 Some additional information was provided to the State upon its request

and the State performed an inspection.44 Two minor plumbing issues were corrected,

and the State found the Casa Sunzal Shelter to be in compliance with all State

standards.45




41
   Mayor’s Office Press Release: During Uncertainty About Treatment of Migrant Infants and
Children, Mayor Calls for Abandonment of Plan to House Them in Houston, June 21, 2018,
available at: http://www.houstontx.gov/mayor/press/abandon-plan-housing-children-
houston.html (last visited November 8, 2018) (emphasis added).
42
   Exhibit D.
43
   See D. Montez letter to M. Saldanas of June 26, 2018, attached as Exhibit J.
44
   Exhibit A.
45
   Exhibit A; Child-Care Inspection Form attached as Exhibit K.
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       35.     But on August 16, 2018, the City Fire Department, apparently in

connection with the Mayor’s campaign against Casa Sunzal housing immigrant

children in Houston, sent the State a letter alleging that the correct occupancy

designation for Casa Sunzal was Group “I” Institutional Occupancy, and not the

Group “R” designation it currently had. 46 Therefore, the Fire Department asserted,

“the Certificate of Occupancy for 419 Emancipation is invalid.” 47

       36.     There is no such thing as an “invalid” Certificate of Occupancy. 48 Once

issued, a certificate remains valid unless revoked after several procedural steps have

been undertaken.49 The City admits that it has not revoked the Certificate of

Occupancy and that “no formal procedure for revocation of the Certificate of

Occupancy has taken place.”50

       37.     Nevertheless, based on the Fire Department’s letter, the State refused

to issue a GRO license for Casa Sunzal.51 The State informed Southwest Key that,

if Southwest Key did not withdraw its application for the license, the license would

be denied, which would have negative consequences for any future license

application made by Southwest Key. 52



46
   S. Peña Letter to A. Krause of August 16, 2018, attached as Exhibit L.
47
   Id.
48
   Declaration of J. Hal Caton, attached as Exhibit M.
49
   Id.
50
   Answer at ¶ 81.
51
   Exhibit A.
52
   Exhibit A.
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         38.   Southwest Key withdrew its application for a State license, then

resubmitted it on September 5, 2018. 53 As part of its review of this resubmitted

application, the State performed another site inspection.54

         39.   The only deficiency reported by the State following that inspection

was:55




         40.   Domanique Vital, the State representative performing the inspection,

made clear that the “information” referred to is the August 16th letter from Chief

Peña.56

         41.   So, as a result of the City’s letter, the State will not issue a GRO license

and without that license, Southwest Key cannot open the Casa Sunzal facility.

         42.   The Office of Refugee Resettlement (“ORR”) has informed Southwest

key that if it does not begin operation of the Casa Sunzal Shelter soon, ORR will

defund the program. 57




53
   Exhibit A; Controlling Person Form, Child Care Licensing, attached as Exhibit N.
54
   Exhibit A; Child-Care Inspection Form, attached as Exhibit O.
55
   Exhibit O.
56
   Exhibit A.
57
   Exhibit A. Originally, ORR gave Southwest Key an October 28, 2018 deadline by which it had
to open the facility. That particular deadline is no longer in effect, but ORR has been clear that
the facility must open soon if Southwest Key wishes to keep its contract.
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                     IV. SUMMARY JUDGMENT STANDARD
       43.    Summary judgment is proper if the movant shows that there are no

genuine disputed of material fact and that the movant is entitled to judgment as a

matter of law.58


                V. CASA SUNZAL IS PROPERLY CERTIFIED AS
             A RESIDENTIAL FACILITY UNDER THE BUILDING CODE
       44.    Again, a facility operating in the City of Houston must hold a certificate

of occupancy under the Building Code. 59

       45.    On June 8, after having conducted two inspections of the facility and

after having had every opportunity to determine its intended use, the City issued a

certificate of occupancy for residential use. 60

       46.    Chapter 3 of the Building Code contains lists of representative uses that

are arranged into broad classifications called Occupancy Groups. 61 Of import here

are the Institutional Group I uses, detailed under Code Section 308, and Residential

Group R uses, detailed under Code Section 310.

       47.    Building Code Section 308.1 states:

          Institutional Group I occupancy includes, among others, the use of
          a building or structure, or a portion thereof, in which care or
          supervision is provided to persons who are or are not capable of
          self-preservation without physical assistance or in which persons
          are detained for penal or correctional purposes on in which the

58
   FRCP 56(a); Tolan v. Cotton, 572 U.S. 650, 134 S. Ct. 1861, 1866 (2014).
59
   Exhibit M.
60
   Exhibit D.
61
   Exhibit M; Building Code Chapter 3.
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          liberty of the occupants is restricted. Institutional occupancies shall
          be classified as Group I-1, I-2, I-3, or I-4.

       48.    “Incapable of self-preservation” is defined in Building Code

Section 202 as “persons because of age, physical limitations, mental limitations,

chemical dependency, or medical treatment who cannot respond as an individual to

an emergency situation.”

       49.    The occupants of the Casa Sunzal Shelter are capable of self-

preservation without physical assistance.62 At ages 16-17, they are much more than

2 ½ years old, and do not suffer any physical, mental, or other limitations which

would render them unable to respond to an emergency situation. 63

       50.    The occupants of the Casa Sunzal Shelter are not detained for penal or

correctional purposes. 64 They are at the Shelter to keep them safe until either a

suitable relative or other adult assumes responsibility for them, or they are deported

as a result of immigration proceedings. 65

       51.    Despite its public statements to the contrary, 66 in an internal

memorandum, the City has explicitly stated that the Casa Sunzal Shelter is not a

62
   Exhibit A.
63
   Exhibit A.
64
   Exhibit A.
65
   Exhibit A.
66
   On July 31, 2018, Mayor Turner referred to Casa Sunzal as a “detention center” in two
Tweets: “There are reports tonight that a @SouthwestKey detention center will open next week
at 419 Emancipation. @HoustonFire has NOT inspected or issued an operational permit. I
oppose the facility” @SylvesterTurner, Twitter (Jul. 31, 2018, 10:15 PM),
https://twitter.com/SylvesterTurner/status/1024478573267234816; and “More on
@SouthwestKey’s plan, which I oppose, to detain migrant children downtown: City Fire Safety
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detention center.67 That memorandum describes the would-be-occupants as in “quasi

foster care,” and acknowledges that ORR places the children in “residential

facilities, partly through contracts with [Southwest Key.]” 68

       52.    The liberty of the occupants of the Casa Sunzal Shelter is not

restricted.69 There are no mechanical restraints used.70 There are no locks preventing

them from leaving their rooms and they are free to move about the facility. 71 As in

a school setting, children are verbally discouraged from leaving Casa Sunzal and

their leaving would be against the rules, but they are not physically restrained if they

try to leave the campus.72

       53.    The     2012      International     Building     Code      Commentary         (the

“Commentary”) is published by the International Code Council (“ICC”). It is

authored by ICC technical staff and is universally recognized as the authoritative




permit they circulated to news media tonite [sic.] doesn’t fit such an operation,
@FireChiefofHFD says. They need, but haven’t sought, 1 for a detention center
#KeepFamiliesTogether” @SylvesterTurner, Twitter (Jul. 31, 2018, 11:31 PM),
https://twitter.com/SylvesterTurner/status/1024497919670603777 (internal links omitted),
attached as Exhibit P.
67
   SWK (1).doc emailed by A. Bernstein to Mayor Turner on June 17, 2018 at 3:26 PM, attached
as Exhibit Q. Note that Mayor Turner received this memorandum six weeks before he called the
Shelter a “detention center” on Twitter.
68
   Id. (emphasis added).
69
   Exhibit A; see also 8 U.S.C. § 1232 (c)(2)(A) which requires that unaccompanied minors be
housed “in the least restrictive setting that is in the best interest of the child.”
70
   Exhibit A.
71
   Exhibit A.
72
   Exhibit A; see also Photos of Exit Doors, attached as Exhibit R, which shows that all but one
exit door opens when a bar is pushed, and one door opens when a handle is depressed.
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work that provides insight, background and guidance on how to apply the Code.73

The City of Houston turns to the Commentary for guidance in implementing the

Code. 74

       54.     Regarding Institutional Group I facilities, the Commentary explains:

           Institutional occupancies are comprised of two basic types. The
           first relates to health care facilities that are intended to provide
           medical care or treatment for people who have physical or
           mental disabilities or diseases and other infirmities. This
           includes persons who are ambulatory and are capable of self-
           preservation as well as those who are restricted in their mobility
           or totally immobile and need assistance to escape a life-
           threatening situation, such as a fire (i.e., children 2 ½ years of
           age or less and infirm persons). The second type of occupancy
           relates primarily to detention and correctional facilities. Since
           security is the major operational consideration in these kinds of
           facilities, the occupants (inmates) are under some form of
           restraint and may be rendered incapable of self-preservation
           without assistance in emergency situations. 75

       55.     As can be seen from the Commentary, the Casa Sunzal Shelter is not

an Institutional facility. It is not a healthcare facility. 76 No children aged 2 ½ or

younger will be housed there, nor will infirm persons be housed there.77 It also will

not be a detention or correctional facility as the occupants are not inmates, are not

under any form of restraint, and are not rendered incapable of self-preservation. 78


73
   Exhibit M.
74
   Id.
75
   Commentary at 3-22 (emphasis added), excerpts attached as Exhibit S.
76
   Exhibit A.
77
   Exhibit A.
78
   Exhibit A; see also the 1997 consent decree in Case No. CV 85-4544-RJK(Px) in the United
States District Court in the Central District of California, known as the “Flores Settlement”, and
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       56.     Additionally, the Casa Sunzal Shelter does not fit into any of the four

Institutional sub-groups delineated in the Code.


   A. Institutional Group I-1
          This occupancy shall include buildings, structures, or portions
          thereof for more than 16 persons who reside on a 24 hour basis in a
          supervised environment and receive custodial care. The persons
          receiving care are capable of self-preservation …79
       57.      “Custodial care” is defined in Code Section 202 as “assistance with

day-to-day living tasks; such as assistance with cooking, taking medication, bathing,

using toilet facilities and other tasks of daily living. Custodial care includes persons

receiving care who evacuate at a slower rate and/or who have mental and psychiatric

complications.”

       58.     The occupants of the Casa Sunzal Shelter are not provided with

custodial care.80 They must bathe themselves, dress themselves, use toilet facilities

themselves, clean their own rooms, and are generally responsible for all other tasks

of daily living.81 The children must self-administer their medication in accordance


attached as Exhibit T. The Flores Settlement “sets out nationwide policy for the detention,
release, and treatment of minors in [its] custody . . . .” See Flores v. Lynch, 838 F.3d 898 (9th
Cir. 2016) (recognizing continuing applicability of Flores Settlement to unaccompanied minor).
The Flores Settlement requires ORR to “treat . . . all minors in its custody with dignity, respect,
and special concern for their vulnerability as minors,” and, to place them “in the least restrictive
setting appropriate to the minor’s age and special needs.” Flores Settlement, ¶ 11. It noted that
the federal government “usually houses persons under the age of 18 in an open setting, such as a
foster or group home, and not in detention facilities.” Flores Settlement at p. 45 (emphasis
added).
79
   Building Code Section 308.3 (emphasis in original).
80
   Exhibit A.
81
   Exhibit A.
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with State law.82 They do not evacuate at a slower rate than the normal population,

and don’t have mental or physical complications.83

        59.   The Commentary compares “custodial care” with “personal care,”

explaining that “on the lower end of the care spectrum (i.e., personal care), occupants

are supervised but do not need custodial or medical care.”84

        60.   The services provided to the occupants of Casa Sunzal are personal care

services, not custodial care.85

        61.   Therefore, an I-1 occupancy designation is improper for Casa Sunzal.86


     B. Institutional Group I-2
          This occupancy shall include buildings and structures used for
          medical care on a 24-hour basis for more than five persons who
          are incapable of self-preservation …87

        62.   The Casa Sunzal Shelter is not used for medical care. 88

        63.   As explained above, the occupants of the Shelter are not incapable of

self-preservation.89

        64.   Therefore, an I-2 occupancy designation is improper for Casa Sunzal.90



82
   Exhibit A; see Tex. Admin. Code. § 748.2009 et seq.
83
   Exhibit A.
84
   Exhibit S.
85
   Exhibit A; Exhibit M.
86
   Exhibit M.
87
   Building Code Section 308.4 (emphasis in original).
88
   Exhibit A.
89
   Exhibit A.
90
   Exhibit M.
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     C. Institutional Group I-3
          This occupancy shall include buildings and structure that are
          inhabited by more than five persons who are under restraint or
          security. An I-3 facility is occupied by persons who are generally
          incapable of self-preservation due to security measures not under
          the occupants’ control … 91

        65.   The occupants of Casa Sunzal are not under restraint or security. 92 The

facility is not a detention facility. 93 There are no locks on internal doors and there is

no limit on egress to the outside of the building. 94 No mechanical restraints are used

on the occupants. 95

        66.   The occupants of Casa Sunzal are not incapable of self-preservation due

to any security measures not under their control. 96

        67.   Therefore, an I-3 occupancy designation is improper for Casa Sunzal.97




91
   Building Code Section 308.5 (emphasis in original).
92
   Exhibit A.
93
   Exhibit A; see also Exhibit T.
94
   Exhibit A; Exhibit R.
95
   Exhibit A.
96
   Exhibit A.
97
   Exhibit M.
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     D. Institutional Group I-4 Day Care Facilities
             This group shall include buildings and structures occupied by
             more than five persons of any age who receive custodial care for
             fewer than 24 hours per day … 98

        68.     Casa Sunzal is not a daycare facility. 99 Its occupants are there 24 hours

a day. 100

        69.     As explained above, the occupants of Casa Sunzal do not receive

custodial care.101

        70.     Therefore, an I-4 occupancy designation is improper for Casa

Sunzal.102

        71.     A facility is only properly designated as Institutional if it falls into one

of the four sub-categories of Institutional use.103 Since none of the Institutional sub-

categories correctly describes the intended use of the Casa Sunzal Shelter, Casa

Sunzal cannot be classified as Institutional.104

        72.     Section 310.1 of the Building Code states that:

             Residential Group R includes, among others, the use of a building
             or structure, or a portion thereof, for sleeping purposes when not




98
   Building Code Section 308.6 (emphasis in original).
99
   Exhibit A; Exhibit M.
100
    Exhibit A.
101
    Exhibit A.
102
    Exhibit M.
103
    See Building Code Section 308.1 “Institutional occupancies shall be classified as Group I-1,
I-2, I-2, or I-4.” (emphasis added); Exhibit M.
104
    Exhibit M.
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          classified as an Institutional Group I or when not regulated by the
          International Residential Code.105

       73.    Only one- and two-family dwellings are regulated by the International

Residential Code, 106 so it is not applicable to the Casa Sunzal Shelter. 107

       74.    Since Casa Sunzal Shelter does not fit any of the classifications within

the Institutional Occupancy Group, the Code requires that it be properly classified

as a Residential Occupancy. 108

       75.    This is precisely the conclusion which the City originally reached when

it issued a Residential Certificate of Occupancy and all the connected licenses to

Casa Sunzal.109 Not until the Mayor began his public and private crusade against

Southwest Key did the City offer—with no attempted justification—the

unsupportable view that the facility should be classified as Institutional.

       76.    The Court should find that, just as the City originally determined, the

proper use classification of the Casa Sunzal Shelter under the Building Code is

Residential Group R.




105
    Emphasis in the original.
106
    The 2012 International Residential Code, as amended and adopted by the City of Houston,
applies to “detached one- and two-family dwellings and townhouses not more than three stories
above grade plane in height with a separate means of egress and their accessory structures.”
Houston Amendments to the 2012 International Residential Code R 101.2.
107
    Exhibit M.
108
    Exhibit M.
109
    See Exhibit D.
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                        VI. REQUEST FOR SPEEDY HEARING
       77.       ORR had initially informed Southwest Key that it will cancel its

contract for the Casa Sunzal Shelter if children were not housed in the facility by

around October 28, 2018.110 Because of ORR’s urgent need for beds for the children

in its custody, it has temporarily suspended that deadline, 111 all the while making

clear to Southwest Key that this suspension is not indefinite, and that it will cancel

its contract for Casa Sunzal if Southwest Key cannot place children in the Shelter

soon. 112

       78.       While Southwest Key is awaiting a State license to open its doors, that

license is being withheld due to the City’s stating its position that the Residential

Certificate of Occupancy previously issued by the city is “invalid” and that the

Shelter must be licensed as an Institutional facility, rather than Residential.113

       79.       Should the Court grant this motion, the State will have no grounds on

which to continue to rely on the City’s representation regarding the correct use

classification, and will issue the GRO license which Southwest Key needs to operate

the facility.

       80.       In order that this matter be resolved before ORR cancels its contract

with Southwest Key, should the Court determine that a hearing is necessary in


110
    Exhibit A.
111
    Exhibit A
112
    Exhibit A.
113
    Exhibit A.
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connection with this motion, Southwest Key asks that the hearing be expedited

pursuant to FRCP 57.


                       VII. CONCLUSION AND PRAYER
        81.   There are no genuine disputes over the material facts: Southwest Key

seeks a license to operate Casa Sunzal as a residential facility for unaccompanied

minors. Those minors will not be detained, nor will they be in a medical facility.

They are not receiving custodial care, nor are they incapable of self-preservation.

        82.   Therefore, as a matter of law, Casa Sunzal is not an Institutional

Group I facility, but rather a Residential Group R facility pursuant to the Building

Code.

        83.   Southwest Key asks the Court to declare that the use of Casa Sunzal to

house and provide personal care to unaccompanied minors over the age of ## makes

it a Residential Group “R” facility pursuant to the Building Code.

        84.   If the Court believes a hearing is necessary in deciding this motion,

Southwest Key asks that the hearing be expedited so that this matter may be resolved

before ORR cancels Southwest Key’s contract for failure to open the Shelter.




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                                   Respectfully submitted,

                                   Buck Keenan LLP

                                   By: /s/ J. Robin Lindley
                                   J. Robin Lindley
                                   State Bar No. 12366100
                                   SDTX Bar No. 9693
                                   lindley@buckkeenan.com
                                   2229 San Felipe, Suite 1000
                                   Houston, Texas 77019
                                   (713) 225-4500
                                   (713) 225-3719 (fax)

                                   ATTORNEY-IN-CHARGE FOR
                                   SOUTHWEST KEY PROGRAMS, INC.

OF COUNSEL
Laura Gleen
State Bar No. 24085329
SDTX Bar No. 1673869
lgleen@buckkeenan.com
2229 San Felipe, Suite 1000
Houston, Texas 77019
(713) 225-4500
(713) 225-3719 (fax)




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                         CERTIFICATE OF SERVICE

       On November 12, 2018, I electronically submitted this pleading to the Clerk
of the Court for the U.S. District Court, Southern District of Texas, using the
electronic case filing system of the Court. I hereby certify that I have served all
counsel of record electronically or by another manner provided by Federal Rules of
Civil Procedure 5(b) (2).


                                      /s/ Laura Gleen
                                      Laura Gleen




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